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18
19                        UNITED STATES DISTRICT COURT
20         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
21    BIRD-B-GONE, INC., a California          Case No. SACV12-00178 AG (RNBx)
      corporation,                             [Consolidated with SACV13-00082]
22
            Plaintiff/ Counterdefendant,
23                                             Honorable Andrew J. Guilford
                        v.
24                                             CONSENT JUDGMENT AND
      BIRD BARRIER AMERICA, INC., a            INJUNCTION
25    California corporation,
26          Defendant/Counterlaimant.
27
      And related counterclaims.
28
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                              CONSENT JUDGMENT AND INJUNCTION
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1                          CONSENT JUDGMENT AND INJUNCTION
2           WHEREAS, plaintiff/counterdefendant Bird-B-Gone, Inc. (“BBG”) and
3     defendant/counterclaimant Bird Barrier America, Inc. (“BBA”), without admitting
4     liability or wrongdoing, and without waiving any rights except as expressly stated
5     herein, and solely to avoid the effort, expense and distraction of litigation, have
6     agreed in a separate confidential Settlement Agreement to settle all claims and
7     counterclaims in the above-captioned consolidated matter on the terms set forth in
8     that Agreement; and
9           WHEREAS, as part of that settlement, BBG and BBA have agreed to entry
10    by the Court of this Consent Judgment and Injunction.
11          NOW, THEREFORE, it is hereby ORDERED, ADJUDGED, AND
12    DECREED THAT:
13    1.    This Court has continuing jurisdiction over the parties and the subject matter
14    hereof to enforce the terms and provisions of this Consent Judgment and of the
15    Confidential Settlement Agreement between the parties.
16    2.    BBA, and its officers, employees, subsidiaries, and affiliates, who receive
17    actual notice, are hereby enjoined and restrained, until the invalidation or
18    expiration of U.S. Patent Nos. 8,015,747, 8,020,340, and 8,286,385, from directly
19    or indirectly making, using, selling, offering for sale, importing, or exporting any
20    electrified bird track having a flexible base to which conductive elements are sewn,
21    and further having open channels, troughs, grooves or notches on the underside of
22    the base into which the sewing threads extend, including among other things, the
23    accused product as referenced in the parties confidential settlement agreement
24    effective April 22, 2013, or encouraging or causing such a product to be made,
25    used, sold, offered for sale, imported, or exported, or using the accused product as
26    referenced in the parties confidential settlement agreement effective April 22, 2013
27    in any of its marketing or instructional material, or at any trade show. This
28    injunction does not apply to BBA’s new flap design that involves one or more
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                                CONSENT JUDGMENT AND INJUNCTION
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1     flaps on the bottom of the base that cover the sewing threads as shown in the
2     photographs of a base (to which electrical conductors will be sewn) attached as
3     Exhibit A. BBG shall not assert U.S. Patent Nos. 8,015,747, 8,020,340, and
4     8,286,385, or any reissue of U.S. Patent No. 8,020,340, against BBA’s flap design
5     product. BBA will confirm to BBG that any of its existing inventory of the
6     accused product will be or has been destroyed.
7     3.     BBG, and its officers, employees, subsidiaries, and affiliates, who receive
8     actual notice, are hereby enjoined and restrained, until the invalidation or
9     expiration of the U.S. Patent No. 7,481,021, from directly or indirectly making,
10    using, selling, offering for sale, importing, or exporting any electrified bird track
11    having a braided conductive element, or encouraging or causing such product to be
12    made, used, sold, offered for sale, imported, or exported, or using a braided
13    product in any of its marketing or instructional material, or at any trade show.
14    4.     Nothing herein shall require BBG to retrieve braided product already sold or
15    installed, or require BBA to retrieve accused product already sold or installed; and
16    nothing herein applies to the Flex Track flat-base product without having open
17    channels, troughs, grooves or notches on the underside of the base that BBA is
18    currently selling or prevents BBA from continuing directly or indirectly to make,
19    use, sell, offer for sale, import or export that product.
20    5.     The above-captioned consolidated matter is otherwise hereby dismissed
21    without prejudice in its entirety. In the event of any future litigation between the
22    parties involving the above-referenced U.S. Patents or this Consent Injunction, the
23    parties may assert any claim, affirmative defense or counterclaim in that matter at
24    that time.
25    ////
26    ////
27    ////
28    ////
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                                CONSENT JUDGMENT AND INJUNCTION
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1     6.    The parties shall bear their own fees and costs.
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3
      IT IS SO ORDERED.
4
5
6     Date: June 06, 2013
7           __________________________
                                      Honorable Andrew J. Guilford
8                                     Judge, United States District Court
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13
      Submitted by:
14
15
16    Date: May 29, 2013                     By: /s/ Mei Tsang____________
                                                  Mei Tsang, Esq.
17                                                Attorneys for Plaintiff and Counter-
                                                  Defendant Bird-B-Gone, Inc.
18
19    Date: May 29, 2013                     By: /s/ Robert W. Dickerson
20                                                Robert W. Dickerson, Esq.
                                                  Attorneys for Defendant and
21                                                Counterclaimant Bird Barrier America,
                                                  Inc.
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                               CONSENT JUDGMENT AND INJUNCTION
